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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT LEXINGTON

SHURWEST, LLC,                                 §
    Plaintiff,                                 §
                                               §
       vs.                                     §         CIVIL ACTION NO.
                                               §
CAROLYN HOWARD,                                §
    Defendant.                                 §

                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Shurwest, LLC (“Shurwest”) files this original complaint against Defendant

Carolyn Howard (“Howard”) and respectfully states:

                                           I. Summary

       1.      This is a declaratory judgment action. Howard is a high-net-worth retirement

planner who made a fully informed decision to invest in what turned out to be an apparent

fraudulent scam. She also recommended that her clients invest in the scam. Now, faced with the

inability to recover losses from the company she and her clients invested in, she is baselessly

blaming Shurwest for her unfortunate decisions. Shurwest seeks a declaration that it owed no duty

to protect Howard from herself, that Shurwest was not involved in Howard’s decisions to invest

in – or recommend that others invest in – a scam, and that Shurwest is not responsible for the

claimed losses of Howard or her clients.

                                           II. Parties

       2.      Shurwest is an Arizona limited liability company whose members are all citizens

of states other than Kentucky.

       3.      Howard is an individual resident of Kentucky. She may be served at 219 E. High

Street, Lexington, KY 40507 or wherever she may be found.



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                                   III. Jurisdiction and Venue

       4.      The Court has jurisdiction over Howard because she is a resident of the State of

Kentucky. The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the

parties are of diverse citizenship and the amount in controversy exceeds $75,000, exclusive of

interest and costs.

       5.      Venue is proper in this district because Howard resides in this district. 28 U.S.C. §

1391(b)(1).

                                    IV. Factual Background

       6.      Shurwest is an industry-leading independent marketing organization (“IMO”). It

markets annuities and insurance products to retirement planners, who are licensed insurance

agents. As one court explained the relationship of IMOs and retirement planners:

       Insurance companies generally do not recruit independent insurance agents to sell
       their products. Instead, IMOs recruit independent insurance agents to sell [fixed
       index annuities] and other types of insurance products to the independent agents’
       clients. An IMO serves as a third-party intermediary between the agents and the
       insurance companies, providing product education, marketing, and distribution
       services. Insurance companies generally compensate IMOs for their support
       services based on a percentage of agent sales volume.

Mkt. Synergy Group, Inc. v. United States Dep’t of Labor, 16-CV-4083-DDC-KGS, 2016 WL

6948061, at *3 (D. Kan. Nov. 28, 2016).

       7.      Howard is a retirement planner and insurance agent licensed in the states of Florida

and Kentucky. She touts herself as a “certified financial planner knowledgeable in a wide range

of financial matters.” On her website, she invites investors to “Get to know your partner in your

financial plan.”

       8.          Importantly, Howard also holds Series 63 (securities agent) and Series 65

(investment advisor) licenses. As a registered investment adviser, Howard owed her clients a



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fiduciary duty of “utmost good faith, and full and fair disclosure of all material facts, as well as an

affirmative obligation to avoid misleading clients.” SEC v. Capital Gains Research Bureau, Inc.,

375 U.S. 180, 194 (1963); see also Santa Fe Indus., Inc. v. Green, 430 U.S. 462, 472 n. l 1 (1977)

(finding that Capital Gains established a federal fiduciary standard for investment advisers).

Howard also owed her clients a duty to act in their “best interest.” See, e.g., SEC v. Tambone, 550

F.3d 106, 146 (1st Cir. 2008) (imposing “a fiduciary duty on investment advisers to act at all times

in the best interest of the fund and its investors”). As a result, she could only benefit from her

clients’ investments if her benefit and all related details of the transaction are disclosed. See

Capital Gains, 375 U.S. at 191-92.

        9.      On December 13, 2016, Howard signed paperwork to engage Shurwest’s IMO

services. On February 10, 2017, Howard signed a broker sales contract with Minnesota Life

Insurance Company (“Minn Life”). Pursuant to that agreement, Howard acted as broker for Minn

Life and sold its products to her clients. As IMO, Shurwest provided education, marketing, and

distribution services to both Minn Life and Howard. When Howard sold a Minn Life product,

Minn Life paid commissions to Shurwest and Howard. All of that is completely normal, and not

what this lawsuit is about.

        10.     This lawsuit is about Future Income Payments, LLC (“FIP”).1 FIP bought pensions,

disability payments, and other revenue streams from veterans, retirees, and other groups. It then

sold those revenue streams to investors – people like Howard and Howard’s clients – who used

the cash flow to fund ongoing investments.2


1
 FIP appears to have operated through a tangled web of entities, affiliates and related businesses. This
complaint refers to FIP’s overall fraudulent organization, without regard to which instrumentality of it was
used to perpetrate the fraud.
2
 Such as, for example, the ongoing premium obligations on indexed universal life policies issued by Minn
Life.

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       11.     According to news reports, FIP preyed on the most vulnerable populations among

us, often charging usurious interest rates in the triple digits. For example, FIP might buy a stream

of 24 monthly disability payments of $500 each (or $12,000) for $3,000, or even less. FIP would

then sell that stream of payments to an investor for $11,000, touting that it was achieving a return

for the investor of better than 9%. Meanwhile, FIP reaped a significant windfall at the detriment

of the disabled person. For those reasons, when Shurwest employee Melanie Schulze-Miller

(“Schulze-Miller”) requested approval from Shurwest management in April of 2016 to market FIP

product to agents (like Howard), the answer was an unequivocal “no.”

       12.     Undeterred and apparently greedy for the commissions FIP was promising,

Schulze-Miller decided to create and operate a separate business – MJSM Financial LLC

(“MJSM”) – through which she would market FIP products to agents and advisers. She established

MJSM email accounts and operated MJSM as a side business, undisclosed to Shurwest. She

brought another Shurwest employee, Nick Johnson, into the MJSM fold so that he, too, could

market FIP products.

       13.     Johnson was Howard’s contact at both Shurwest (for legitimate products) and

MSJM (for FIP products). On February 10, 2017, Johnson emailed Howard a flier touting FIP’s

“structured notes.” On February 21, 2017, Howard emailed Schulze-Miller a copy of an agreement

between Howard and FIP pursuant to which Howard would market FIP products. Just as Shurwest

was the IMO in the relationship between Minn Life and Howard, MJSM was the IMO in the

relationship between FIP and Howard. In other words, MJSM would receive fees from FIP when

Howard sold an FIP product. Upon information and belief, FIP would also send commissions on

to Howard. Shurwest did not receive any compensation from, or in any way related to, FIP.




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       14.    On April 13, 2017, Howard forwarded Johnson an email from one of her retirement

planning clients – Lee Anne Walmsley (“Walmsley”) – which instructed Howard to “please

purchase 3 year structured notes,” a reference to FIP products. It seems that shortly thereafter,

Howard – through MJSM – purchased FIP products on Walmsley’s behalf. Howard told MJSM

that Walmsley “has plenty of other money.”          Howard earned a commission from FIP on

Walmsley’s purchase of FIP products. Shurwest, of course, did not.

       15.    Neither Howard nor Walmsley can seriously argue that Shurwest was involved with

Walmsley’s investment. On March 2, 2017 – prior to Walmsley’s purchases – Johnson sent her

an email from his MJSM email address providing “information for you so that you can do some

due diligence.” That email contained the following bold and italicized type: “Structured Cash

Flow products are offered through Future Income Payments. Shurwest Financial Group does

not represent nor is affiliated with Future Income Payments. All business transactions should

go directly to Future Income Payments.” Any claim against Shurwest – by either Howard or

Walmsley – necessarily ignores (1) that Howard (not Shurwest) had the due diligence obligation;

and (2) that the investments Walmsley bought were offered through FIP, not Shurwest.

       16.    On April 18, 2017, Howard bought FIP products for herself. Howard signed a

purchase agreement with FIP in which she made a host of representations that wholly negate any

claim against Shurwest:

       I confirm that I understand the purchase of a future income payment based on the
       sale of a pension cash flow is only suitable for persons who have adequate financial
       means without the Purchase Price for the [FIP] Asset, who desire a relatively long-
       term asset and who will not need immediate liquidity from this asset.

       and

       I confirm I understand that, while FIP will take [but unidentified] certain steps in
       order to protect my rights to the [FIP]Asset, there are events out of FIP’s control
       which could result in my not receiving all payments purchased in a future income


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          payment purchase transaction, and that FIP cannot and does not guarantee that I
          will receive all such payments.

          and

          I acknowledge that FIP is not providing, and does not provide, any legal, tax,
          financial or other advice of any nature and recommends that the IRA Owner and
          Purchaser consult their own professional advisor(s) prior to entering into a
          transaction for the purchase of a future income stream.

          17.     She also represented that:

          Purchaser [Howard] has determined, based on his or her own independent review
          and such professional advice as he or she has deemed appropriate under the
          circumstances, that the acquisition of the [FIP product]: (i) is fully consistent with
          his or her financial needs, and (ii) is fit, proper, and suitable, notwithstanding the
          risks inherent in purchasing the [FIP product.]

          and

          Purchaser is sufficiently sophisticated, knowledgeable and experienced in financial
          and business matters as to be capable of determining and evaluating the merits and
          risks of purchasing the [FIP product] and to be capable of protecting the Purchaser’s
          interest in connection with such purchase.

          and

          There are multiple risks associated with the purchase of the [FIP] Asset. These risks
          include, but are not limited to [ten specific risks] listed below. By initialing next to
          each risk listed below, the IRA Owner acknowledges and agrees that he or she has
          read, fully understands and accepts the risks of purchasing the [FIP] Asset.

Perhaps most telling is FIP’s disclosure that “U.S. federal law currently prohibits the assignment

or alienation of pension payments for both military and non-military pensions.”3 In other words,

the FIP product was – and is – illegal. Nobody in their right mind would subscribe to an illegal

investment. But that is exactly what Howard did. On information and belief, Walmsley executed

an FIP contract with identical representations and disclosures.




3
    A true and correct copy of the FIP contract document is attached as Exhibit A.

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       18.     After signing the FIP contract, Howard put up more than $600,000 to buy FIP

products. Among her purchases were six five-year streams of veterans’ benefits. On information

and belief, she received a commission on her own investment. Shurwest, again, did not.

       19.     Apparently unbeknownst to Howard at the time, FIP had already begun unraveling.

Multiple state regulators had sued FIP, and even more were investigating it.    By early 2019, the

game was over. In March, a grand jury indicted FIP and its founder. By April of 2019, FIP was

in a court-ordered receivership.

       20.     All of this came as a shock to exactly nobody, save people who wanted to reap

excessive commissions (Howard) and people who wanted to take advantage of veterans, the

disabled, and the elderly for their own financial benefit (Walsmley and Howard).

       21.     Howard, Walmsley and all the other agents and investors who lost money with FIP

are, perhaps unsurprisingly, now looking for some way to recoup their losses. Walmsley sued

Howard, alleging that Howard should not have directed Walsmley toward FIP.

       22.     The problem is that Howard, now suffering the consequences of her greed – both

in the form of a lawsuit and her own lost investment principal – then sent a demand letter to

Shurwest. In it, she baselessly complains that Shurwest recommended that she participate in the

FIP scam, causing her to lose more than half a million dollars. That is nonsense; as Schulze-Miller

told Howard before Howard invested, “Shurwest doesn’t wholesale FIP.” Schulze-Miller was

blunt: “Your contract is direct[ly] from [FIP.]” Howard clearly understood that: she asked “what

my license # is with [FIP].” In any event, the notion that an experienced financial planner would

drop that much money into an investment just because somebody—whether Shurwest or not—told

her it was a good idea is absurd. Howard is understandably upset that she ruined the lives of her




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clients and wrecked her own savings.        Blaming her actions on Shurwest, however, is not

understandable.

       23.     Shurwest never recommended FIP products, it never marketed FIP products, and it

was never paid a cent in commission from the sale of FIP products. Howard and Walmsley are in

a predicament that they, with the help of MJSM, created for themselves. This lawsuit seeks a

declaration making that clear.

                             V. Request for Declaratory Judgment

       24.     The Declaratory Judgment Act provides that “any court of the United States, upon

the filing of an appropriate pleading, may declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought.” 28

U.S.C. § 2201(a).     Courts have broad discretion in exercising jurisdiction and fashioning

relief. Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995); Aetna Cas. & Sur. Co. v. Sunshine

Corp., 74 F.3d 685, 687 (6th Cir. 1996).

       25.     In determining the scope of appropriate relief, courts consider the following factors:

(1) whether the declaratory action would settle the controversy; (2) whether the declaratory action

would serve a useful purpose in clarifying the legal relations in issue; (3) whether the declaratory

remedy is being used merely for the purpose of procedural fencing or to provide an arena for a

race for res judicata; (4) whether the use of a declaratory action would increase friction between

our federal and state courts and improperly encroach on state jurisdiction; and (5) whether there is

an alternative remedy which is better or more effective. Aetna, 74 F.3d at 687. All of these factors

strongly weigh in favor of entering a declaratory judgment resolving this controversy.

       26.     The declaratory judgment sought would settle the controversy between Howard and

Shurwest in that it would clarify the legal relations at issue. Specifically, Shurwest seeks a



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declaration that as it relates to investments in the FIP scheme, Shurwest had no legal relationship

at all. At most, Shurwest was involved in an arms-length transaction with respect to other

products; it assumed no duty of care or other duty to Howard or Walmsley with respect to FIP.

Under Kentucky law, such duties “rarely arises in commercial relationships.” See Guangzhou

Consortium Display Prod. Co. v. PNC Bank, Nat. Ass’n, 956 F. Supp. 2d 769, 780 (E.D. Ky. 2013)

(citations omitted). “This is because in an arms-length commercial transaction, each party is

assumed to be protecting its own interest.” Id. at 781 (citations and quotations omitted).

       27.     There are no concerns of procedural fencing or increased friction between federal

and state courts, and there is no remedy that is better or more effective. As a result, the Court

should enter the requested declaration.

                                            VI. Prayer

       28.     Shurwest respectfully requests that Howard be summoned to answer and appear

herein, and that the Court – upon final trial or hearing – declare that Shurwest owed no duty relating

to FIP or any investment in FIP, and that Shurwest is not responsible for any loss at the hands of

FIP.

                                               Respectfully submitted,


                                               /s/ Jason T. Ams
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